            CASE 0:20-cr-00270-ECT-LIB Doc. 1 Filed 11/17/20 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                                               L6'?9o EcIlu(5
                                                            Cl*-
UNITED STATES OF AMERICA.                         )        rxorcrMENT
                                                  )
                     Plaintiff,                   )        ts u.s.c.'$ 8aa(c)
                                                  )        l8 u.s.c. $ s44(i)
               v.                                 )        18 u.s.c. $ 844(hxl)
                                                  )        18 u.s.c. $ e8l(aXlXc)
ANDREW CHARLES WELSH,                             )        18 U.S.C. $ 982(aX2XB)
                                                   i       l8 u.s.c. g 1343

                                                  '\
                     Defendant.                            2r u.s.c. $ 8s3(p)
                                                           28 U.S.C. $ 2461

       THE UNITED STATES GRAND JURY CHARGES THAT:

                                   TNTROpUCTIgN

       l.     From at least February 17,2020, and continuing through date of this

Indictment. the defendant. AIIIDREW CHARLES WELSH. devised and carried out a

scheme   to commit wire fraud by intentionally         setting           to his   business and then
                                                                 .fire
submitting a fraudulent claim for about $1.4 million in insurance proceeds.

                       ,      GEI\ERAL ALLEGATIONS

      At all times material to this indictment:

       2.     The Press Bar and Parlor was a building and business, located on West Saint

Germain Street in the Citv of Saint Cloud. within the State and District of Minnesota.

       3.     In or about April 2OI6,ANDREW CIIARLES WELSH entered                             into

contracts purchasing the Press Bar and Parlor building and real property in the name of the

Horseshoe Club, LLC,and purchasing the Press Bar and Parlor business in the name                 of

Timeless Bar, Inc., dlbla The Press Bar and Parlor. Both the Horseshoe Club, LLC, and

Timeless Bar,Inc., are owned and operated by WELSH and J.W.
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                                                                                       NOVl?ML
             CASE 0:20-cr-00270-ECT-LIB Doc. 1 Filed 11/17/20 Page 2 of 6



U.S. v. Andrew Charles Welsh


        4.      WELSH operated the Press Bar and Parlor as a bar and tavern. As part of

his operation of the business, WELSH purchased and maintained a business owner's

insurance policy for the Press Bar and Parlor in the name of Timeless Bar   Inc.   The policy

was purchased from the Illinois Casualty Company, located in Rock.Island, Illinois.

Among other things, the policy provided coverage for property damage to the Press Bar

and Parlor building and real property, as well as coverage for other   losses. For the policy

in effect from Apri   | 2llg to April 2l2l,.thepolicy   limits for building and rbal property

were $1,350,000, with an automatic annual increase of     4o/o.


                               THE SCHEME TO DEFRAUD

        5.      From at least February 17,2020, and continuing through'the date of this

Indictment, WELSH did knowingly carry out a scheme and artifice to defraud and to

obtain money and property from Illinois Casualty Company, by means of materially false

and fraudulent pretenses, representations, promises, and material omissions.

       6.       The object of the scheme to defraud was to file, or cause to be filed, one or

mbre fraudulent insurance claims with Illinois Casualty Company seeking payment of

money to WELSH, through his company, Timeless Bar, Inc., for propeity damage and

other losses related.to the Press Bar and Parlor, and thereby enrich himself.

       7.       On or'about February 17,2020, in furtherance of the scheme to defraud,

WELSH used an ignitable liquid to.set a fire in the basement of the Press Bar and Parlor.

The fire eventually spread and resulted in the total destruction of the building as well   as


other losses.



                                              2
                  CASE 0:20-cr-00270-ECT-LIB Doc. 1 Filed 11/17/20 Page 3 of 6
I




    U.S. v. Andrew Charles Welsh


            8.       On or about .February 24, 2020, WELSH and J.W. retained a Public

    Insurance Adjuster to assist in the preparation, presentation, and adjustment of insurance

    claims related to the fire at Press Bar and Parlor.

            9.       On or about February 26,2020, the Public Insurance Adjuster, acting at the

    direction of WELSH, J.W., and Timeless Bar, Inc., contacted agents and employees         of

    Illinois Casualty Company, and claimed that his clients were entitled to payment from

    Illinois Casualty Company in the amount $1,430,123.28 for property damage and other

    losses related to the February 17,2020       fire.

                                                 COUNT       1
                                                   (Arson)

            10.     On or about February 17, 2020, in the State and District of Minnesota, the

    defendant,

                                      ANDREW CH.I.iUNS WELSH,

    maliciously damaged and destroyed, by means of fire and explosive materials, the Press

    Bar and Parlor, a building located at 502 West Saint Germdin Sfteet in the City of Saint

    Cloud, Minnesota, used in interstate commerce, in violation of Title 18, United States

    Code, Section 844(i).

                                                   COUNT 2
                                   (Use of Fire to Commit a Federal Felony)

            ll.     On or about February 17,2020, in the State and District of Minnesota, the

    defendant,

                                      ANDREW CHARLES WELSH,
            CASE 0:20-cr-00270-ECT-LIB Doc. 1 Filed 11/17/20 Page 4 of 6



U.S. v. Andrew Charles Welsh


knowingly used fire to destroy the Press Bar and Parlor, in order to commit the offense of

wire fraud, as charged in Count 3 of this Indictment, a felony prosecutable in a court of the

United States, in order to fraudulently collect insurance proceeds on such building and

business, in violation of Title 18, United States Code, Section 844(h)(l).

                                             COIJNT 3
                                            (Wire Fraud)

        12.     The grand jury re-alleges and incorporates paragraphs I through I I as if fully

set forth herein.

        13.     From at least in or about February 17,2020, and continuing through date         of

this Indictment, in the State and District of Minnesota, the defendant,

                               ANDREW CHARLES WELSH,

did knowingly and willfully execute and attempt to execute       a scheme and   artifice to defraud

and to obtain money and property by means of materially false and fraudulent pretenses,

representations, promises, and material omissions, which scheme and anifice as described

above in paragraphs     I through   9.

        14.     On or about February 26,2020, for the purpose of executing and attempting

to execute the above-described           scheme and artifice   to defraud, WELSH knowingly

transmitted and caused to be transmitted by means of wire communications in interstate

and foreign commerce, ceitain writings, signs, signals, and sounds, described as follows:

an email from P.N. (a Public Insurance Adjuster representing        \ilELSH) to P.G. and J.H.

(agents of the Illinois Casualty Company), attaching a Proof of Loss signed by           \ilELSH

claiming entitlement to $1,430,123.28 in payment for property damage and other losses
                CASE 0:20-cr-00270-ECT-LIB Doc. 1 Filed 11/17/20 Page 5 of 6



U.S. v. Andrew Charles Welsh


related to a fire at the Press Bar and Parlor under an insurance policy issued by Illinois

Casualty Company, and representing that "said loss did not origilate by any act, design, or

procurement on the part of your insured," when in truth and,in fact, as WELSH knew, his

act of intentionally setting fire to the Press Bar and Parlor caused the loss for which he

sought compensation, all in violation of Title 18, United States Code, Section 1343.

                                   FORF'EITIJRE ALLEGATIONS

          15.      Counts   I   through 3 of this Indictment are hereby realleged and incorporated

as   if fully   set forth herein by reference, for the purpose of alleging forfeitures pursuant to

Title 18, United States Code, Sections 98I(aXlXC) and 982(a)(2)(B), in conjunction with

Title 28, United States Code, Section 2461(c).

          16.      Upon conviction of the offenses in violation of Title 18, United States Code,

Section 844 set forth in Counts         I   and 2 of this Indictment, the defendant,

                                    AI\DREW CHARLES WELSH,

shall forfeit to the United States of America, pursuant to Title 18, United States Code,

Section 982(a)(2)(B), any property constituting,              or derived from, proceeds obtained,

directly or indirectly, as a result of such violations, and pursuant to Title 18, United States

Code, Section 8aa(c) and Title 28, United States Code, Section 2461(c), any explosive

materials involved or used or intended to be used in the violations.

          17.      Upon conviction of the offense in violation of Title'18, United States Code,

Section 1343 set forth in Count 3 of this Indictment, the defendant,

                                    ANDREW CHARLES WELSH,
            CASE 0:20-cr-00270-ECT-LIB Doc. 1 Filed 11/17/20 Page 6 of 6



U.S. v. Andrew Charles Welsh


shall forfeit to the United States of America, pursuant to Title 18, United States Code,

Section gSl(aXl)(C) and Title 28, United States Code, Section 2461(c),any property, real

or personal, which constitutes or is derived from proceeds traceable to the offense.

        18.     If   any of the above-described forfeitable property, as a result of any'act   oi

omission of the defendant, cannot be located upon the exercise of due diligence; has been

hansfened or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the court; has been substantially diminished in value; or has             been

commingled with other property which cannot be divided without difficulty; the United

States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 28, United States Code,

Section 2461(c).

                                          A TRUE BILL




UNITED STATES ATTORNEY                               FOREPERSON




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